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                                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
 1
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 4

 5

 6   Attorney for Defendant MARIA NUNEZ
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                        ******
11
     UNITED STATES OF AMERICA,                                Case No.: 1:19-cr-00145-NODJ- BAM
12

13                           Plaintiff,                       STIPULATION CONTINUING
                                                              SENTENCING; AND ORDER
14                 v.
                                                              Date: December 5, 2024
15   MARIA NUNEZ,                                             Time: 11:00 a.m.
                                                              Courtroom: 5
16                           Defendant.
17

18          Defendant MARIA NUNEZ, by and through her counsel of record, ROGER D.
19   WILSON, and Plaintiff United States of America, by and through its counsel of record JUSTIN
20   GILIO, Assistant U.S. Attorney, hereby as follows:
21          1.          By previous order, this matter was set for sentencing on December 5, 2024.
22          2.          By this stipulation, defendant now moves to continue sentencing until February
23                      10, 2024, and to exclude time between December 5, 2024, and February 10, 2025,
24                      under 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4].
25          3.          The parties agree and stipulate, and request that the Court find the following:
26                 a. On October 23, 2023, the defendant pled guilty to Count Two, a violation of Title
27                      21 U.S.C. § 841(a)(1)(b)(1)(A) – Possession with Intent to Distribute 500 Grams
28                      and More of a Mixture Containing Methamphetamine.


                                          STIPULATION CONTINUING SENTENCING; ORDER                                1
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 1               b. Counsel for defendant desires additional time to due to a scheduling conflict

 2                  involving a jury trial in Madera County Superior Court that began August 24 and

 3                  will continue through December 13, 2024.

 4               c. Counsel for the defendant believes that failure to grant the above requested

 5                  continuance would deny him/her the reasonable time necessary for effective

 6                  preparation, taking into account the exercise of due diligence.

 7               d. The government does not object the continuance.

 8

 9   IT IS SO STIPULATED.

10   DATED:         December 4, 2024                                     /s/ Justin Gilio
                                                                         JUSTIN GILIO
11                                                                Assistant United States Attorney

12
     DATED:         December 4, 2024                                    /s/ Roger D. Wilson
13                                                                      ROGER D. WILSON
                                                                       Attorney for Maria Nunez
14

15

16                                                ORDER
17         IT IS SO ORDERED that the sentencing hearing is continued from December 5, 2024, to
18   February 10, 2025, at 8:30 a.m. in Courtroom 5 before the District Court Judge.
19
20   IT IS SO ORDERED.
21
        Dated:     December 4, 2024                           /s/ Barbara A. McAuliffe               _
22                                                     UNITED STATES MAGISTRATE JUDGE
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                                  STIPULATION CONTINUING SENTENCING; ORDER                           2
